         Case 5:21-cv-00223-JGB-KK Document 23 Filed 04/30/21 Page 1 of 4 Page ID #:76
 Name and address:
 Paul P. Cheng
 PPRCLAW, APC
 790 E. Colorado Blvd., Ste. 260
 Pasadena, CA 91101




                                          UNITED STATES DISTRICT COURT
                                         CENTRAL DISTRICT OF CALIFORNIA
Clean Safety, Inc.                                                CASE NUMBER:

                                                                                     5:21-cv-00223-JGB-KK
                                                   PLAINTIFF(S)
                                   v.

SY America Group, Inc., et al.
                                                                               NOTICE OF APPEARANCE OR
                                                                               WITHDRAWAL OF COUNSEL
                                                 DEFENDANT(S)

                                                      INSTRUCTIONS
Appearance of Counsel:
Attorneys may use this form to enter an appearance in a case, or to update the docket of a case to reflect a prior
appearance. To do so, complete Sections I, II, and IV of this form, then file and serve the form in the case. (Using an
attorney's CM/ECF login and password to file this form will expedite the addition of that attorney to the docket as counsel
of record.)
Withdrawal of Counsel:
This form may be used to terminate an attorney's status as counsel of record for a party in three situations: (1) the
attorney being terminated has already been relieved by the Court, but the docket does not yet reflect that fact; (2) at least
one member of the attorney's firm or agency will continue to represent that party and the withdrawing attorney is not the
only member of the Bar of this Court representing that party; or (3) the represented party has been dismissed from the
case, but the attorneys are still receiving notices of electronic filing. For any of these situations, complete Sections I, III,
and IV of this form, then file and serve the form in the case.
Note: In situations not covered above, attorneys seeking to withdraw from a case must first obtain permission from the
 Court. In such circumstances, attorneys should complete and file a "Request for Approval of Substitution or Withdrawal of
 Counsel" (Form G-01) rather than this "Notice of Appearance or Withdrawal of Counsel" (Form G-123). See Form G-Olfor
further information.
SECTION I - IDENTIFYING INFORMATION
Please complete the following information for the attorney you wish to add or remove (if removing an attorney, provide the
information as it currently appears on the docket; if appearing pro hac vice, enter "PHV" in the field for "CA Bar Number'J;

Name: Paul P. Cheng                                                                 CA Bar Number: 239566
Firm or agency: PPRCLAW, APC
Address: 790 E. Colorado Blvd., Suite 260, Pasadena, CA 91101
Telephone Number: -------------
                  626-356-8880                                       Fax Number:     818-213-8196
Email: Litigation@pprclaw.com
Counsel of record for the following party or parties: SY America Group, Inc. and SY America, LLC.




G-123 (9/17)                            NOTICE OF APPEARANCE OR WITHDRAWAL OF COUNSEL                                   Page 1 of2
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                                            Case 5:21-cv-00223-JGB-KK Document 23 Filed 04/30/21 Page 3 of 4 Page ID #:78




                                              1                             CERTIFICATE OF SERVICE
                                                                    Clean Safety Inc. v. SY America Group, Inc. et al
                                              2                            Case No. 5:21-cv-00223-JGB-KK
                                                State of California}
                                              3
                                                County of Los Angeles}
                                              4
                                                        I am employed in the County of Los Angeles, State of California. I am over the age
                                              5
                                                of 18, and am not a party to the within action; my business address is 790 E. Colorado Blvd.,
                                              6 Ste 260, Pasadena, CA 91101. On the date herein below specified, I served the foregoing
                                                document, described as set forth below on the interested parties in this action by placing true
                                              7
                                                copies thereof enclosed in sealed envelopes, at Pasadena, California, addressed as follows:
                                              8
                                                  Date of Service: April 30, 2021
                                              9
                                             10 Document(s) Served:
                                             11 NOTICE OF APPEARANCE OR WITHDRAW AL OF COUNSEL
TEL: (626) 356-8880 | FAX: (888) 213-8196
   790 E. COLORADO BLVD., STE. 260




                                             12 Parties Served: SEE SERVICE LIST
      PASADENA, CALIFORNIA 91101




                                             13
         WWW.PPRCLAW.COM




                                                [X] BY CM/ECF SYSTEM: I caused the above-referenced document(s) to be sent by
                                             14 electronic transmittal to the Clerk’s Office using the CM/ECF System for filing which
                                                generated a Notice of Electronic Filing to the CM/ECF registrants in this case listed in the
                                             15
                                                service list.
                                             16
                                                  [X] [Federal] I declare under penalty of perjury under the laws of the United States of
                                             17
                                                  America that the foregoing is true and correct.
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                                                  Executed at Pasadena, California on April 30, 2021.
                                             20
                                             21                                                           __/s/ Leean Saroeun_________
                                             22                                                              Leean Saroeun

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                                                                                       PROOF OF SERVICE
                                            Case 5:21-cv-00223-JGB-KK Document 23 Filed 04/30/21 Page 4 of 4 Page ID #:79




                                              1                        CERTIFICATE OF SERVICE LIST
                                                                  Clean Safety Inc. v. SY America Group, Inc. et al
                                              2                          Case No. 5:21-cv-00223-JGB-KK
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                                              4 Victor De Gyarfas; Jianing G Yu
                                                Foley and Lardner LLP
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                                                213-972-4500
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                                                Fax: 213-486-0065
                                              8 Email: vdegyarfas@foley.com; gyu@foley.com
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